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UN|TED STATES BANKRUPTCY
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UNITED STATES BANKRUPTCY COURT

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EASTERN DISTRICT OF CALIFORNIA

In re Case No. 05-16471-A-13F
DC Nos. HDN-l; GB-2

JOE GUILLEN TORRES
FINDINGS OF FACT AND
CONCLUSIONS OF LAW

Debtor. REGARDING DEBTOR’S MOTION

TO CONFIRM SECOND AMENDED
PLAN; AND MOTION OF CREDITOR,
JANE DOE, TO DISMISS CASE

 

A hearing was held January 19, 2006, on the motion of the
debtor to confirm a Second Amended Plan (the “Second Amended
Plan”) and on the motion of creditor Jane Doe to dismiss the
chapter 13 case. Following the hearing, the court took both
matters under submission. This memorandum contains findings of
fact and conclusions of law required by Federal Rule of
Bankruptcy Procedure 7052 and Federal Rule of Civil Procedure 52.
This is a core proceeding as defined in 28 U.S.C. §157(b)(2)(A),
(L) and (O).

Procedural History and Background Facts.

As a preliminary matter, the debtor filed the Declaration of
Joe Torres and a Memorandum of Points and Authorities in support
of confirmation of the Second Amended Plan on January 18, 2006.
He filed a proof of service showing that those documents were
served by mail on January 18, 2006, on counsel for Jane Doe and
were faxed to counsel for Jane Doe on the same date. At the

hearing, when made aware of these late filed documents, counsel

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for Jane Doe asked that the documents be stricken. The court
granted that request, holding that neither the Declaration nor
the Memorandum of Points and Authorities filed January 18, 2006,
Would be considered in ruling on the motion to dismiss or the
motion to confirm the Second Amended Plan. However, the court,
at the request of the debtor, agreed to take judicial notice of
the docket in the case, including the claims register, reflecting
the fact that the bar date for filing proofs of claim was
December 19, 2005, and that as of the date of the hearing on
January 19, 2006, no proof of claim had been filed by Jane Doe.

This chapter 13 case was filed August 18, 2005. The debtor
filed a First Amended Chapter 13 Plan on September 21, 2005, and
a Second Amended Plan (the one under consideration here) on
November 3, 2005. The Second Amended Plan contemplates the
debtor paying the trustee $540 per month for 36 months.
Unsecured creditors are to receive a distribution of not less
than fourteen percent.

Jane Doe moved to dismiss in October 2005. The hearing on
that motion was continued from time to time, pursuant to
stipulation among the parties, to January 19, 2006, Jane Doe
also objected to the confirmation of the First Amended Plan and
the Second Amended Plan. A hearing on her objection to
confirmation of the Second Amended Plan was also continued from
time to time by agreement to be heard on January 19, 2006,

The Trustee had also moved to dismiss the case, but the
trustee withdrew his motion to dismiss at the hearing on January7
19&, having obtained the debtor’s agreement to certain changes

in the Second Amended Plan.

 

 

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As stated above, the last day for non-governmental creditors

to file proofs of claim in this case Was December 19, 2005, and

Jane Doe has not filed a formal proof of claim.

Additionally, the debtor in this case was the debtor in a
prior chapter 7 case, Case No. 05-14727, filed June lO, 2005. In
that case, the debtor failed to file a Summary and Schedules A
through J, a Statement of Financial Affairs, or the Attorney's
Disclosure of Compensation. As a result, the court ordered the
case dismissed. The order dismissing the case was entered August
4, 2005. The dismissal order does not bar the debtor from a
further bankruptcy filing. Therefore, the chapter 7 case filed
in June 2005 and dismissed in August 2005 created no statutory
impediment to the debtor filing this case. Bankruptcy Code
§ 109(g)(1) was not implicated by the prior filing and dismissal.

The objection to confirmation and the motion to dismiss
raise several issues. The primary thrust of Jane Doe's argument
is that the debtor here filed this chapter 13 case in bad faith.
Thus, she argues, the Second Amended Plan should not be
confirmed, and the case should be dismissed. She also argues
that the debtor is not a proper debtor due to the prior filing
and Bankruptcy Code § 109(g)(l). For the reasons set forth
above, this latter argument is not persuasive. Therefore, the
balance of these findings will focus on the “good faith” issue.

The debtor has asked the court to take judicial notice of
the fact that no proof of claim has been filed by Jane Doe.
According to the debtor, because Jane Doe has not filed a formal
proof of claim, she has no standing to move to dismiss or to

object to plan confirmation.

 

 

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Does Jane Doe Have Standinq§

Bankruptcy Code § 1307(c) allows a “party in interest” to77
move to dismiss or convert a chapter 13 case. Section 1324
provides that “a party in interest” may object to plan
confirmation.

A number of courts have discussed whether a creditor who has
not filed a proof of claim by the bar date in a chapter 13 case
is a party in interest within the meaning of § 1307 or § 1324.
The decision perhaps with the most onerous effect on such
creditors is In re Stewart, 46 B.R. 73 (Bankr. D. Or. 1985). In
that case, the court held that to be a “party in interest” a
creditor must be the holder of an allowed unsecured claim. In
order to have an allowed unsecured claim, the creditor must have
filed a proof of claim. The Stewart court considered whether any
other writings filed by the creditor in that case could
constitute an informal proof of claim and concluded that the
objections to confirmation filed by the creditor did not amount
to an informal proof of claim. Thus, the creditor in that case
Was not a party in interest and had no standing to object to plan
confirmation.

Since Stewart was decided, it has been criticized by several
bankruptcy courts. An Iowa bankruptcy court held that the
Bankruptcy Code does not require the allowance of a claim before
the claimant may object to a plan.

“In providing who might object to plans, Congress used the

broad term ‘party in interest.' lt did not restrict the

filing of objections to creditors who hold allowed claims.

[citation omitted] Nor does the status of creditor appear

to hinge on the entity having filed a proof of claim.”

In re Turpen, 218 B.R. 908, 911 (Bankr. N.D. lowa). The Turpen

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case arose prior to the claims bar date, and the court declined
to decide whether creditors who had filed untimely claims would
be parties in interest.

In In re Ungar, the court held that an objection to
confirmation could be considered an informal proof of claim. 70
B.R. 519 (Bankr. E.D. Penn. 1987). The court allowed an
objection to confirmation to constitute an informal proof of
claim. The court stated:

“For a variety of reasons, 1 believe that the failure of the

creditor here to state an amount due in its pleading is not

a fatal defect to treating that pleading as an informal

proof of claim. First, courts have permitted creditors to

amend proofs of claim subsequent to the bar date in order to
increase the amount sought by the creditors from the estate.

[citations omitted] If the failure of a writing to mention

the amount claimed bars it from being considered as a proof,

amendments to increase the amount, made after the

limitations period, would not be permitted.” Id., at 522.
The court went on to state that an informal proof of claim should
show that a demand was made against the estate and show the
creditor’s intention to hold the estate liable. No statement of
the amount owing was necessary. Id.

The bankruptcy court in In re Joiner generally agreed with
the above proposition. 93 B.R. 130 (Bankr. N.D. Ohio 1988). The
Joiner court declined to require that an informal claim must set
forth the amount of the claim. The Joiner court observed that
equitable considerations Were very important to courts
considering whether a pleading should be considered an informal
proof of claim. Id. at 133. The court observed that “an
inflexible requirement that an informal proof of claim state the

amount of the claim appears inappropriate. Claims are defined so

broadly in the Bankruptcy Code that there may be circumstances

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where it Would be either impossible or purely speculative to set
forth the precise amount of the claim prior to the bar date.”
ld; at 134.

A Minnesota bankruptcy court considered the issue in ;n_;§
Larson. 245 B.R. 609 (Bankr. D. Minn. 2000). In that case, the
court stated that to qualify as an informal proof of claim, a
document must state the nature and the amount of the claim as
well as the claimant's intent to hold the estate liable. The
objection to confirmation in the Larson case met those criteria.
ld; at 614, ftn. 1.

The Northern District of California Bankruptcy Court
considered the issue in In re Rolyn, 266 B.R. 453 (Bankr. N.D.
Cal. 2001). In that case, the objection to confirmation did not
contain any language about the nature or amount of the creditor's
claim. Therefore, the court held that the document Was not an
informal proof of claim.

The Eighth Circuit Bankruptcy Appellate Panel has also
addressed this question. In re Michels, 286 B.R. 684 (8th Cir.
BAP 2002). The Eighth Circuit BAP observed that an objection to
plan confirmation might serve as an informal proof of claim
conferring standing to object to confirmation. The Bankruptcy
Appellate Panel observed that to qualify as an informal proof of
claim, “the document must state the nature and amount of the
claim as well as indicate the claimant's intent to hold the
debtor liable and pursue the claim.” ld; at 691.

The Ninth Circuit Court of Appeals has also considered the
informal proof of claim question, although not in the context of,

standing to object to confirmation of a chapter 13 plan. The

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court has stated:

w _____ ,“For these documents to constitute an informal proof of
claim, they must state an explicit demand showing the nature
and amount of the claim against the estate, and evidence and
intent to hold the debtor liable.”

In re Sambo's Restaurantsh;lnc., 654 F.Zd 811, 815 (1985). The
Ninth Circuit observed that it had a long-established liberal
policy toward amendments of proofs of claim:

“Although this policy cannot override the rules themselves,

within the rules We are liberal in what kind of

documentation We Will treat as a sufficient informal proof

of claim.” Id. at 816.

The Ninth Circuit expressed the same view in Pizza of
Hawaiil Inc., 761 F.2d 1374 (9th Cir. 1985).

Therefore, the question for this court is whether documents
filed by Jane Doe prior to December 19, 2005, can be construed as
constituting an informal proof of claim.

In her objections to confirmation filed October 18, 2005,
Jane Doe stated that she had commenced a civil action in state
court “against Debtor and titled Jane Doe v. Joseph G. Torres

for childhood sexual abuse, sexual battery, and intentional
and negligent infliction of emotional distress.” She observed
that ten days before trial was to begin; the debtor filed his
chapter 7 case, which was dismissed.

On October 31, 2005, Jane Doe filed a Memorandum of Points
and Authorities in support of her motion to dismiss. ln that
document she stated:

“Doe is the former stepdaughter of Debtor. On December 15,

2003, Doe commenced an action in Fresno County Superior

Court against Debtor entitled Jane Doe v. Joseph G. Torres

for childhood sexual abuse, sexual battery, and
intentional and negligent infliction of emotional distress,

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based on the fact that Debtor sexually molested Doe.”

The document goes on to describe that the debtor filed his
chapter 7 case just ten days before trial was set to begin. The
declaration of Monique Alonso filed October 31, 2005, reiterates
these assertions.

Do these statements rise to the level of an informal proof
of claim? ln the court’s view, they do. First, they do show the
nature of the claim against the debtor and an intent to hold the
debtor liable. lt is true that the amount of claim is not
stated, but because the debtor filed his first bankruptcy case
just before trial, and considering the nature of the claim, the
court does not find that a defect here. The amount was subject
to proof of damages in state court, and debtor’s actions
prevented a determination by the trial court of liability or
damages. This is not like a breach of contract claim in which an
amount certain can be stated.

Additionally, the motion to dismiss was originally filed
well before the claims bar date and then continued from time to
time, The documents filed by Jane Doe in the motion to dismiss
indicate that she is a party aggrieved by the filing of the
bankruptcy case. This is another reason for the court to hold
that she has standing to move to dismiss.

Were the Case and/or the Plan Filed in Good Faith?

The court will now consider the parties’_arguments with
respect to dismissal and confirmation of the plan.

As Jane Doe relies on the same grounds in arguing that the
court should dismiss the case and should deny confirmation, the

court will consider both matters together. In essence, Jane Doe

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asserts that the bankruptcy case and the plan were filed in bad
faith.

Bankruptcy Code § 1325(a)(3) requires a chapter 13 plan to
be proposed in good faith. Although good faith is not among the
specifically enumerated reasons that a court may dismiss or
convert a chapter 13 case, it is generally held that it is
appropriate to dismiss a chapter 13 case if it is not filed in
good faith.

Grounds for Dismissal for Bad Faith.

In In re Leavitt, the Ninth Circuit Court of Appeals
described grounds to dismiss a chapter 13 case for bad faith.
171 F.3d 1219, 1224 (9th cir. 1999) .1 According to the Ninth
Circuit in Leavitt, the court should consider:

¢ whether the debtor misrepresented facts in his petition or
plan, unfairly manipulated the Bankruptcy Code, or otherwise

filed his chapter 13 petition or plan in an inequitable

manner;

0 the debtor’s history of filings and dismissals;

0 whether the debtor intended only to defeat state court
litigation;

¢ whether egregious behavior is present.

Good Faith as a Requirement for Confirmation of a Chapter 13

Plan.

The debtor has the burden to establish good faith. This

 

1In Leavitt, the bankruptcy court had dismissed the chapter
13 petition with prejudice under § 349(a). Here, the court is
not considering dismissal With prejudice, but simply whether the
case should be dismissed.

 

 

 

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burden has been characterized as especially heavy when a

“superdischarge” is sought. In re Warren, 89 B.R. 87, 93 (9th

Cir. BAP 1988). Generally, in evaluating whether a plan is

proposed in good faith, the court looks at the totality of the

circumstances. ld; at 92. A number of specific factors are

relevant guidelines in determining whether a chapter 13 plan is

proposed in good faith. These factors include:

0 The amount of the proposed payments and the amounts of the
debtor’s surplus;

0 The debtor’s employment history, ability to earn, and
likelihood of future increases in income;

0 The probable or expected duration of the plan;

0 The accuracy of the plan’s statements of the debts,
expenses, and percentage of repayment of unsecured debt, and

whether any inaccuracies are an attempt to mislead the

court;

0 The extent of preferential treatment between classes of
creditors;

0 The extent to which secured claims are modified;

0 The type of debt sought to be discharged and whether any

such debt is nondischargeable in chapter 7;

0 The existence of special circumstances such as inordinate
medical expenses;

0 The frequency with which the debtor has sought relief under'
the Bankruptcy Code;

0 The motivation and sincerity of the debtor in seeking
chapter 13 relief; and

0 The burden which the plan’s administration would place on

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the trustee.
184 at 92-93.

Some of those factors are relevant here, while others are
not.

In In re Eisen, the Ninth Circuit stated that in determining
whether a petition has been filed in bad faith, courts are guided
by the standards used to evaluate whether a plan has been
proposed in bad faith. ld4 at 470. The court must review the
totality of the circumstances. ld;

In the Ei§en case, the Ninth Circuit concluded that there
was no doubt that the debtor had filed his petition in bad faith.
He had timed the filing to frustrate a state court action and had
submitted contradictory and misleading descriptions of his
assets. ld;

Misrepresentation of Facts.

Jane Doe has asserted that the debtor has misrepresented
facts in his petition and plan. The statements made in the
debtor’s schedules of assets and liabilities in the bankruptcy
case conflict With statements made by the debtor in deposition
testimony in the state court litigation, and with the marital
settlement agreement between the debtor and his wife.

These discrepancies are not entirely explained by the
passage of time between the deposition and the filing of the
case. As one bankruptcy court put it, “Viewed individually,
Debtor’s omissions may seem insignificant. Collectively they
give the Court cause for concern . . . On the scales described in
the case law, this is a factor which weighs against finding

Debtor has proposed his plan in good faith.” In re James, 260

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b.R. 498, 506 (Bankr. D. ld. 2001).

For instance, Torres has testified that he entered into a
marital property settlement agreement with his wife on January
10, 2005, pursuant to which she was awarded the real property at
5481 West Dayton Avenue, Fresno, California, and a 1955 Ford
Thunderbird and a 1991 Nissan 300Z. Yet, in a deposition on
April 8, 2005, Torres testified that he lived at 5481 West
Dayton, Fresno, California.

At his deposition in April 2005, Torres testified that he
had not thought of retirement “real seriously” yet. He stated
that there was no retirement age at Xerox Corporation, his
employer. In the April deposition, he testified that he drives a
1991 Nissan and that he still has the 1955 Thunderbird. These
are the cars that, according to the marital property settlement
agreement, were transferred to Mrs. Torres in January 2005. Mr.
Torres testified that on April 29, 2005, he signed a declaration
of unrepresented party testifying that on January 1, 2005, he
entered into the marital property settlement agreement,

In the bankruptcy petition Torres stated that he owned no
vehicles but had transferred a Ford Thunderbird and a Nissan
automobile to his former wife in February 2005. In the April
2005 deposition, he testified that he owned the vehicles. Yet in
the Statement of Financial Affairs he testified that they were
transferred to Carol Torres in February 2005. Schedule J shows
$85 per month in car insurance expenses.

At the deposition in April, Torres testified that he lived
in the house on Dayton Avenue, had lived there nine years, and

owned it jointly with his wife. By the time he filed his

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chapter 13 case, Torres asserted that his only assets were his
interest in his pension and his interest in a note receivable
from his wife, other than household goods and furnishings and
clothes. Although the judgment of legal separation was not
entered until August 2, 2005, Torres asserts that his debts are
not community debts but rather his own debts. Other than the
unliquidated, contingent and disputed obligation to Jane Doe, his
scheduled debts consist of about $42,000 in consumer credit card
debt. Only two of the credit card creditors filed timely proofr
of claim in amounts of $4,248.11 and $6,524.65 respectively.

According to Torres, the discrepancies between the state
court testimony and the schedules are explainable. He says that
he was retired from Xerox as of June 28, 2005. He asserts that
he does not own real estate because of a trust, although the self
settled trust did not preclude him from dealing with the property
in a marital settlement agreement. He also asserts that as of
January 10, 2005, pursuant to a property settlement agreement,
his interest in real estate went to his ex-spouse. This does not
explain his testimony at the deposition that he did own real
estate. He acknowledged that he does own a 1998 Ford, which he
says is fully exempt. However, he did not list it on his
schedules.2

Despite transferring property to a trust, Torres did enter
into a marital property settlement agreement, according to him,
which awarded his wife the real property and the cars. According

to Torres, the judgment of legal separation was filed August 2,

 

2November 14, 2005 declaration of Joe Torres.

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2005, incorporating the settlement agreement awarding Mrs. Torres

the"real property and the cars. “*“
As Judge Pappas has observed in a similar context, “this

state of the record is problematic.” In re James, 260 B.R. 498,

508 (Bankr. Id. 2001).

The Debtor's Historv of Filings and Dismissals.

Here, it is undisputed that Torres filed a chapter 7 case in
June 2005, failed to file documents, and the case was dismissed.
Did the Debtor Only Intend to Defeat State Court Litiqation?

The chapter 7 case was filed ten days before trial was set
to begin. Shortly after the chapter 7 case was dismissed, this
case was filed.

Is egregious behavior present?

This is the second case filed by Joe Torres, the first
chapter 7 case having been dismissed for failure to file
documents. According to Torres, his attorney mistakenly filed a
chapter 7 case, and therefore he let it be dismissed so that the
correct chapter 13 case could be filed. The court can consider
the impact of both cases. The chapter 7 case was filed ten days
before trial. There are discrepancies among the marital
settlement agreement, the deposition testimony in the state court
action, and the schedules and statement of affairs in the chapter
13 case.

The Terms of the Second Amended Plan and Other Factors.

The Second Amended Plan contemplates continuing for 36
months with the debtor paying $540 per month to the trustee.
There are no creditors in Class 1 (long term delinquent secured

claims); Class 2 (secured claims modified by the plan or that do

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not extend beyond its length); Class 3 (secured claims satisfied
by the surrender of collateral); Class 4 (secured claims paid 5
directly by the debtor); Class 5 (priority unsecured claims);
Class 6 (special unsecured claims). There are no executory
contracts or unexpired leases dealt with by the plan. The only
claims dealt with by the plan are general unsecured claims which
the plan states will receive not less than a 14% dividend.3

The debtor claims that he is retired.

As there are no secured claims, they are not modified.

If Jane Doe were to prevail in her state court action, her
claim would likely be nondischargeable in a chapter 7 case under
Bankruptcy Code § 523(a)(6).

As relevant, the issues really are any misrepresentations in
the plan or in the schedules of assets and liabilities; the prior
chapter 7 filing; the fact that any debt owing to Jane Doe is
likely nondischargeable in a chapter 7 case; and the debtor’s
motivation and sincerity in seeking chapter 13 relief.
Conclusion.

The relevant factors described above cause the court to
find and conclude that the case was not filed in good faith and
the plan was not proposed in good faith. The chapter 7 case was

filed immediately before the trial in Jane Doe]s lawsuit was set

to commence. Although it was dismissed, the chapter 13 case was

 

3The plan as drafted states that distribution to unsecured
creditors shall be no more than $32,000, which is estimated at
14% based on esatimated claims. The trustee required the debtor
to eliminate this sentence to obtain the trustee's agreement to
confirmation. Therefore, the plan simply requires 14% to
unsecured creditors.

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filed immediately thereafter. The court finds that the debtor
filed the cases to defeat the state court litigation,

Based on the inconsistencies among the deposition testimony,
the marital settlement agreement, the debtor’s declaration in
connection with these motions, and the bankruptcy schedules, the
court finds that the debtor has misrepresented the facts. While
each misrepresentation in itself may be minor, together they
present a pattern of misrepresen-tation.

The type of debt that Jane Doe is asserting is a debt that
would be nondischargeable in a chapter 7 case. Thus, the
debtor’s burden to establish good faith is heavy. ln re Warren,
supra, at 93.4 The court further finds that the case was filed
to prevent the state court trial from going forward.

For all the above reasons, the court finds and concludes
that the case was filed and the plan proposed in bad faith.
Therefore, the court will issue a separate order denying

confirmation of the plan and dismissing the chapter 13 case.

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WHI'I`NEY"RIME.7 \¢.:
United Sta - ruptcy Court

DATED: MarCh 17, 2006.

 
  

 

 

4One bankruptcy court has criticized the statement in Warren
that the debtor’s burden when a chapter 13 plan would result in a
superdischarge is especially high. In re Selden, 116 B.R. 232
(Bankr. D. Or. 1990). Nonetheless, the proposition does not
appear to have been rejected by an appellate court in the Ninth
Circuit. '

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PROOF OF SERVICE BY MAIL
STATE OF CALIFORNIA )
COUNTY OF FRESNO § SS.

1 am a citizen of the United States and a resident of the
county aforesaid; 1 am over the age of eighteen years and not a
party to the within above-entitled action; my business address is
2656 U.S. Courthouse, 1130 O Street, Fresno, California, 93721.
On March 17, 2006, 1 served the within document on the interested
parties in said action by placing a true copy thereof enclosed in
a sealed envelope with postage thereon fully prepaid, in the
United States mail at Fresno, California, addressed as follows:

Henry D. Nunez, Esq.
4478 W. Spaatz Avenue
Fresno, California 93722

Monique Alonso, Esq.

GROSS & BELSKY

180 Montgomery Street, Suite 2200
San Francisco, California 94104
M. Nelson Enmark, Esq.

3447 W. Shaw Avenue
Fresno, California 93711

1 certify (or declare), under penalty of perjury, that the

foregoing is true and correct. Executed on March 17, 2006, at

Kathy Torres, P§jt”

Fresno, California.

 

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